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                                                                                            10/4/2024
                                                 Application GRANTED. The initial conference, previously
Mark Stevens                                     scheduled for October 22, 2024, is hereby ADJOURNED to
T (202) 552-2358
F (202) 772-0919                                 December 9, 2024, at 11:00 a.m. The parties must file their
Email:mstevens@ClarkHill.com                     joint pre-conference statement (see Dkt. 14) no later than
                                                 December 2, 2024. SO ORDERED.
October 3, 2024

Hon. Barbara Moses, U.S. Magistrate Judge
U.S. District Court                       _________________________
500 Pearl Street                          Barbara Moses
New York, NY 10007-1312                   United States Magistrate Judge
Via: CM-ECF                               October 4, 2024

        Re: Leontiev, et al. v. Jaddou, No. 1:24-cv-06543-JHR-BCM

Dear Judge Moses:

       The parties jointly request adjournment of the initial case management conference to a date
after December 6, 2024 that is convenient for the Court. The conference is currently scheduled
for October 22, 2024. See ECF No. 14 at 1. This is the first request by either party for an
adjournment of the case management conference.

        This is an immigration delay lawsuit. Such cases often settle without the defendant filing
an answer. Discussions have begun to see if this case is among the high percentage of cases that
can be resolved without contested litigation. The defendant’s answer is due November 8, 2024.
To preserve space for the parties to resolve this matter without the Court’s intervention, and to
save the resources required for court appearances, the parties respectfully request an adjournment
of the initial case management conference until after December 6, 2024.

        I thank the Court for its consideration of this letter.


                                                    Sincerely,

                                                    CLARK HILL

                                                    /s/Mark Stevens
                                                    Mark Stevens
                                                    Counsel for Plaintiffs

MS:ms




                                                                                       clarkhill.com
